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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

  CAROL MILLER, individually and on behalf             Case No.
  of all others similarly situated,
                                                     CLASS ACTION COMPLAINT
                 Plaintiff,
                                                     DEMAND FOR JURY TRIAL
  v.

  BATH FITTER TENNESSEE, INC., a
  Tennessee corporation, and BATH FITTER
  MANUFACTURING INC., a Delaware
  corporation

                 Defendants,


                                CLASS ACTION COMPLAINT
       Plaintiff Carol Miller (“Plaintiff” or “Plaintiff Miller”) brings this Class Action Complaint

and Demand for Jury Trial against Defendant Bath Fitter Tennessee Inc. and Defendant Bath Fitter
Manufacturing Inc. (collectively referred to as “Defendants” or “Bath Fitter”) to stop the
Defendants from violating the Telephone Consumer Protection Act (“TCPA”) by making pre-

recorded telemarketing calls without prior express written consent, including to consumers who
registered their phone numbers on the National Do Not Call registry (“DNC”). Plaintiff also seeks

injunctive and monetary relief for all persons injured by Defendants’ conduct. Plaintiff, for this
Complaint, alleges as follows upon personal knowledge as to herself and her own acts and

experiences, and, as to all other matters, upon information and belief, including investigation

conducted by her attorneys.
                                            PARTIES

       1.      Plaintiff Carol Miller is a resident of Etters, Pennsylvania.

       2.      Defendant Bath Fitter Tennessee, Inc. is a Tennessee registered corporation with
its principal place of business located at 102, Evergreen DR, Springfield, Tennessee 37172-5861.

Bath Fitter conducts business throughout this District, Pennsylvania, and the U.S.
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       3.      Defendant Bath Fitter Manufacturing Inc. is a Delaware registered corporation with

its principal place of business located at 102, Evergreen DR, Springfield, Tennessee 37172-5861.
Bath Fitter conducts business throughout this District, Pennsylvania, and the U.S.

                                 JURISDICTION AND VENUE
       4.      This Court has subject matter jurisdiction over this action under 28 U.S.C. § 1331,

as the action arises under the Telephone Consumer Protection Act, 47 U.S.C. §227 (“TCPA”).
       5.      This Court has personal jurisdiction over the Defendants because the Defendants
conduct business in this District and because wrongful conduct giving rise to this case was directed

to and received in this District, and venue is proper in this District under 28 U.S.C. § 1391(b)
because a substantial part of the events giving rise to the claim occurred in this District.
                                        INTRODUCTION

       6.      As the Supreme Court explained at the end of its term this year, “Americans
passionately disagree about many things. But they are largely united in their disdain for robocalls.

The Federal Government receives a staggering number of complaints about robocalls—3.7 million
complaints in 2019 alone. The States likewise field a constant barrage of complaints. For nearly
30 years, the people’s representatives in Congress have been fighting back.” Barr v. Am. Ass’n of
Political Consultants, No. 19-631, 2020 U.S. LEXIS 3544, at *5 (U.S. July 6, 2020).

       7.      The National Do Not Call Registry allows consumers to register their telephone
numbers and thereby indicate their desire not to receive telephone solicitations at those numbers.
See 47 C.F.R. § 64.1200(c)(2).

       8.      A listing on the Registry “must be honored indefinitely, or until the registration is

cancelled by the consumer or the telephone number is removed by the database administrator.” Id.
       9.      When Congress enacted the TCPA in 1991, it found that telemarketers called

more than 18 million Americans every day. 105 Stat. 2394 at § 2(3).

       10.     By 2003, due to more powerful autodialing technology, telemarketers were calling
104 million Americans every day. In re Rules and Regulations Implementing the TCPA of 1991,

18 FCC Rcd. 14014, ¶¶ 2, 8 (2003).
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          11.   The problems Congress identified when it enacted the TCPA have only grown

exponentially in recent years.
          12.   Industry data shows that the number of robocalls made each month increased from

831 million in September 2015 to 4.7 billion in December 2018—a 466% increase in three years.
          13.   According to an online robocall tracking service, 3.3 billion robocalls were placed

in June 2020 alone, at a rate of 111.2 million per day. www.robocallindex.com (last visited July
28, 2020).
          14.   The FCC also has received an increasing number of complaints about unwanted

calls, with 150,000 complaints in 2016, 185,000 complaints in 2017, and 232,000 complaints in
2018. FCC, Consumer Complaint Data Center, www.fcc.gov/consumer-help-center-data.
          15.   “Robocalls and telemarketing calls are currently the number one source of

consumer complaints at the FCC.” Tom Wheeler, Cutting off Robocalls (July 22, 2016), statement
of FCC chairman.

          16.   “The FTC receives more complains about unwanted calls than all other complaints
combined.” Staff of the Federal Trade Commission’s Bureau of Consumer Protection, In re Rules
and Regulations Implementing the Telephone Consumer Protection Act of 1991, Notice of
Proposed Rulemaking, CG Docket No. 02-278, at 2 (2016).

                                  COMMON ALLEGATIONS
          17.   Defendants Bath Fitter are a bathroom remodeling products manufacturer and
seller.

          18.   Defendants operate from around 200 retail locations to sell their products to

consumers.1
          19.   Defendants place outbound telemarketing calls to consumers nationwide to

generate sales, as per Plaintiff’s experience.




1
    https://www.linkedin.com/company/bath-fitter/about/
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          20.      The express purpose of these calls is to solicit call recipients to purchase

Defendants’ products.
          21.      These calls use artificial and/or pre-recorded voices.

          22.      Neither Plaintiff nor the members of the proposed Classes ever provided the
Defendants and/or their agents with prior express written consent to receive the telephone calls at

issue.
          23.      The Defendants do not have any record of express written consent to place
telemarketing calls, or calls featuring an artificial or pre-recorded voice, to Plaintiff or to members

of the proposed Classes.
          24.      Bath Fitter employees have posted complaints online about making calls to
consumers who do not want to be called. These calls often start with a pre-recorded message and

are transferred to an agent only if the consumer answers the call.




                                                                                                 2




                                                                                             3




2
    https://800notes.com/Phone.aspx/1-888-713-0083/3
3
    https://www.indeed.com/cmp/Bath-Fitter/reviews
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                                   PLAINTIFF’S ALLEGATIONS

          25.     Plaintiff registered her cell phone number on the DNC on December 15, 2013.
          26.     Plaintiff uses her cell phone number for personal use only. It is not associated with

a business.

          27.     Plaintiff has received a series of unsolicited telemarketing calls to her cell phone
number since January of 2021.




4
    https://www.indeed.com/cmp/Bath-Fitter/reviews
5
    https://www.indeed.com/cmp/Bath-Fitter/reviews
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       28.       On January 5, 2021, the Plaintiff received a call from the phone number 717-831-

9762 to her cell phone. She did not answer this call and a voicemail with a pre-recorded voice
message was sent to her cell phone and Plaintiff listened to the full message.

       29.       Plaintiff received further unsolicited calls from Defendants Bath Fitter, from phone
number 717-831-9762 on:

             •   February 5, 2021, at 5:41 PM
             •   March 10, 2021, at 3:21 PM
             •   April 10, 2021, at 11:18 AM

             •   May 10, 2021, at 2:39 PM
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       30.     When the phone number 717-831-9762 is called back, an automated system
identifies the company as Bath Fitter and directs the caller speak with one of the Defendants’

employees.
       31.     At no time did Plaintiff provide prior express written consent to receive pre-

recorded or other telemarketing calls from the Defendants.
       32.     The unauthorized telephone calls that Plaintiff received from Bath Fitter as alleged
herein, have harmed Plaintiff in the form of annoyance, nuisance, and invasion of privacy, and

disturbed the use and enjoyment of her phone, in addition to the wear and tear on the phone’s
hardware (including the phone’s battery) and the consumption of memory on the phone.
       33.     Defendants Bath Fitter were and are aware that the above-described telephone calls

are being made either by them directly, or made on their behalf, and that the telephone calls were
being made to consumers who had not provided prior express written consent to receive them.

                              CLASS ACTION ALLEGATIONS
       34.     Plaintiff brings this action pursuant to Federal Rules of Civil Procedure 23(b)(2)
and 23(b)(3) and seeks certification of the following Classes:


       Pre-recorded No Consent Class: All persons in the United States who from four
       years prior to the filing of this action through trial (1) Defendants called (2) using
       a pre-recorded voice message, (3) on their cellular telephone number.

       Do Not Call Registry Class: All persons in the United States who from four years
       prior to the filing of this action through trial (1) Defendants called more than one
       time, (2) within any 12-month period, (3) where the person’s telephone number had
       been listed on the National Do Not Call Registry for at least thirty days, (4) for
       substantially the same reason the Defendants called the Plaintiff.

       35.     The following individuals are excluded from the Classes: (1) any Judge or
Magistrate presiding over this action and members of their families; (2) Defendants, their

subsidiaries, parents, successors, predecessors, and any entity in which either Defendants or their

parents have a controlling interest and their current or former employees, officers and directors;
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(3) Plaintiff’s attorneys; (4) persons who properly execute and file a timely request for exclusion

from the Classes; (5) the legal representatives, successors or assigns of any such excluded persons;
and (6) persons whose claims against the Defendants have been fully and finally adjudicated and/or

released. Plaintiff anticipates the need to amend the Class definition following appropriate
discovery.

       36.      Numerosity and Typicality: On information and belief, there are hundreds, if not
thousands of members of the Classes such that joinder of all members is impracticable, and
Plaintiff is a member of both Classes.

       37.      Commonality and Predominance: There are many questions of law and fact
common to the claims of the Plaintiff and the Classes, and those questions predominate over any
questions that may affect individual members of the Classes. Common questions for the Classes

include, but are not necessarily limited to the following:
       (a) whether the Defendants placed pre-recorded voice message calls to Plaintiff and

             members of the Pre-recorded No Consent Class;
       (b) whether the Defendants placed multiple calls within a 12-month period to Plaintiff and
             other consumers whose telephone numbers were registered with the National Do Not
             Call Registry for at least 30 days at the time of each call;

       (c) whether the Defendants made these calls without first obtaining prior express written
             consent;
       (d) whether Defendants’ conduct violated the TCPA; and

       (e) whether members of the Class are entitled to treble damages based on the willfulness

             of Defendants’ conduct.
       38.      Numerosity and Ascertainability: The exact sizes of the Classes are unknown and

not available to Plaintiff at this time, but it is likely that the Defendants made telephone calls to

thousands of consumers who fall into each of the Classes, such that individual joinder of all
members is impracticable. Members of the Classes can be identified through the Defendants’

records.
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       39.     Adequate Representation: Plaintiff will fairly and adequately represent and

protect the interests of the Classes, and has retained counsel competent and experienced in class
actions. Plaintiff has no interests antagonistic to those of the Classes, and the Defendants have no

defenses unique to Plaintiff. Plaintiff and her counsel are committed to vigorously prosecuting
this action on behalf of the members of the Classes, and have the financial resources to do so.

Neither Plaintiff nor her counsel have any interest adverse to the Classes.
       40.     Appropriateness: This class action is also appropriate for certification because the
Defendants have acted or refused to act on grounds generally applicable to the Classes and as a

whole, thereby requiring the Court’s imposition of uniform relief to ensure compatible standards
of conduct toward the members of the Classes and making final class-wide injunctive relief
appropriate. Defendants’ business practices apply to and affect the members of the Classes

uniformly, and Plaintiff’s challenge of those practices hinges on Defendant’s conduct with respect
to the Classes as a whole, not on facts or law applicable only to Plaintiff. Additionally, the damages

suffered by individual members of the Classes will likely be small relative to the burden and
expense of individual prosecution of the complex litigation necessitated by Defendants’ actions.
Thus, it would be virtually impossible for the members of the Classes to obtain effective relief
from Defendants’ misconduct on an individual basis. A class action provides the benefits of single

adjudication, economies of scale, and comprehensive supervision by a single court.


                               FIRST CLAIM FOR RELIEF
                            Telephone Consumer Protection Act
                                (Violation of 47 U.S.C. § 227)
               (On Behalf of Plaintiff and the Pre-recorded No Consent Class)
       41.     Plaintiff repeats and realleges the prior allegations of this Complaint and

incorporates them by reference herein.
       42.     The Defendants and/or their agents made unwanted solicitation telephone calls to
Plaintiff and the other members of the Pre-recorded Class in an effort to sell goods and services.

       43.     These calls used artificial or pre-recorded voices.
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       44.     These pre-recorded voice calls were made without the prior express written consent

of Plaintiff and the other members of the Pre-recorded Class.
       45.     The Defendants have, therefore, violated 47 U.S.C. §§ 227(b)(1)(A)(iii) and

(b)(1)(B). As a result of the Defendants’ conduct, Plaintiff and the other members of the Pre-
recorded Class are each entitled to a minimum of $500 in damages, and up to $1,500 in damages,

for each violation.

                              SECOND CLAIM FOR RELIEF
                            Telephone Consumer Protection Act
                                (Violation of 47 U.S.C. § 227)
                  (On Behalf of Plaintiff and the Do Not Call Registry Class)
       46.     Plaintiff repeats and realleges the prior allegations of this Complaint and
incorporates them by reference herein.

       47.     The TCPA’s implementing regulation, 47 C.F.R. § 64.1200(c), provides that “[n]o
person or entity shall initiate any telephone solicitation” to “[a] residential telephone subscriber

who has registered his or her telephone number on the national do-not-call registry of persons who
do not wish to receive telephone solicitations that is maintained by the federal government.”
       48.     Any “person who has received more than one telephone call within any 12-month
period by or on behalf of the same entity in violation of the regulations prescribed under this

subsection may” may bring a private action based on a violation of said regulations, which were
promulgated to protect telephone subscribers’ privacy rights to avoid receiving telephone
solicitations to which they object. 47 U.S.C. § 227(c).

       49.     The Defendants have violated 47 C.F.R. § 64.1200(c) by initiating, or causing to

be initiated, telephone solicitations to telephone subscribers such as Plaintiff Miller and the Do
Not Call Registry Class members who registered their respective telephone numbers on the

National Do Not Call Registry, a listing of persons who do not wish to receive telephone

solicitations that is maintained by the federal government.
       50.     The Defendants have violated 47 U.S.C. § 227(c)(5) because Plaintiff Miller and

the Do Not Call Registry Class received more than one telephone call in a 12-month period made
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by or on behalf of the Defendants in violation of 47 C.F.R. § 64.1200, as described above.

          51.      As a result of the Defendants’ conduct as alleged herein, Plaintiff Miller and the
Do Not Call Registry Class suffered actual damages and, under section 47 U.S.C. § 227(c), are

entitled, inter alia, to receive up to $500 in damages for such violations of 47 C.F.R. § 64.1200.
          52.      To the extent the Defendants’ misconduct is determined to be willful and knowing,

the Court should, pursuant to 47 U.S.C. § 227(c)(5), treble the amount of statutory damages
recoverable by the members of the Do Not Call Registry Class.
                                         PRAYER FOR RELIEF

          WHEREFORE, Plaintiff individually and on behalf of the Classes, prays for the following
relief:
          a) An order certifying this case as a class action on behalf of the Classes as defined

                above; appointing Plaintiff as the representative of the Classes; and appointing her
                attorneys as Class Counsel;

          b) An award of actual and/or statutory damages and costs;
          c) Enhanced damages for willful misconduct, up to treble the amount of statutory
                damages;
          d) An award of attorney’s fees;

          e) An order declaring that the Defendants’ actions, as set out above, violate the TCPA;
          f) An injunction requiring the Defendants to cease all unsolicited calling activity, and to
                otherwise protect the interests of the Classes; and

          g) Such further and other relief as the Court deems just and proper.


                                              JURY DEMAND

          Plaintiff requests a jury trial.


                                                  CAROL MILLER, individually and on behalf of
                                                  all others similarly situated,
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DATED this 14th day of June, 2021.

                                     By: /s/ Andrew Carroll
                                     Andrew M. Carroll
                                     Carroll Law Office, P.C.
                                     427 N Packard St.
                                     Hammonton, NJ 08037
                                     856-426-9815
                                     Fax: 856-997-1031
                                     Email: andrewcarrollesq@gmail.com


                                     Avi R. Kaufman*
                                     KAUFMAN P.A.
                                     400 NW 26th Street
                                     Miami, FL 33127
                                     Telephone: (305) 469-5881
                                     kaufman@kaufmanpa.com


                                     Attorneys for Plaintiff and the putative Classes

                                     *Pro Hac Vice motion forthcoming
